                                                                                      Motion GRANTED.
                             UNITED STATES DISTRICT COURT                             Hearing reset for
                             MIDDLE DISTRICT OF TENNESSEE                             5/7/14 at 10:00 a.m.

 UNITED STATES of AMERICA,                               Case No: 3:13-00012
                                                         JUDGE TRAUGER
 vs.



 CHARLES JEFFREY EDWARDS et al.                 /


       UNOPPOSED MOTION TO CONTINUE APRIL 11TH PLEA HEARING DATE


         Comes Now the undersigned attorneys for the Defendants Charles Jeffrey Edwards

 and Brenda Edwards and respectfully request this Honorable Court continue the current plea

 hearing date of April 11, 2014. The defendants were unable to make affordable arrangements

 to travel from Houston for the April 11, 2014 hearing date. The undersigned attorneys for the

 Defendants have discussed the matter with AUSA Kathryn Ward Booth and she would agree

 to have the plea date changed to May 7th 2014. The undersigned would respectfully ask the

 court to set this matter sometime in the morning to allow the Edwards to return to Houston

 later in the afternoon.



                                CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of this pleading was electronically mailed

 to AUSA Kathryn Ward Booth, AUSA Sandra Moses and all defense counsel of record this

 8th day of April, 2014.




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